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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY



     KALSHIEX LLC,
                                             Case No. 25–cv–02152–ESK–MJS
              Plaintiff,

         v.
                                                           ORDER
     MARY JO FLAHERTY, et al.,

              Defendants.


         THIS MATTER having come before the Court on plaintiff KalshiEX
    LLC’s (Kalshi) motion for a temporary restraining order and preliminary
    injunction (ECF No. 2),

              IT IS on this 28th day of April 2025 ORDERED that:

         1.   The Motion is GRANTED. Defendants New Jersey Division of
    Gaming Enforcement, New Jersey Casino Control Commission, Mary Jo
    Flaherty, James T. Plousis, Alisa Cooper, Joyce Mollineux, and Matthew J.
    Platkin are enjoined from pursuing civil or criminal enforcement actions
    against Kalshi concerning its sports-related event contracts.

         2.   Kalshi shall contact the Clerk’s Office to coordinate the securing of
    the $100,000.00 bond.

         3.   The parties shall make any requests regarding adjustment of the
    bond amount by letters of no more than three double-spaced pages within five
    business days of this order.

        4.   The parties are directed to coordinate discovery with Magistrate
    Judge Matthew J. Skahill.



                                                  /s/ Edward S. Kiel
                                                 EDWARD S. KIEL
                                                 UNITED STATES DISTRICT JUDGE
